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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               HONX, Inc.


                                                 Hess Oil New York Corp.
2. All other names debtor used
   in the last 8 years                           Hess Oil Virgin Islands Corp.

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   85‑1302163


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          1501 McKinney Street
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          Houston                          TX        77010
                                          City                             State     Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Harris                                                      JP Morgan Chase, 383 Madison Ave
                                          County                                                      Number         Street




                                                                                                       New York                    NY         10017
                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://cases.stretto.com/honx

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            HONX, Inc.                                                    Case number (if known)
           Name



                                         A. Check One:
7.   Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                         324110 – Crude Petroleum Refineries

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

                                         ☒ Chapter 11. Check all that apply:

                                                           ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders
                                                             or affiliates) are less than $3,024,725 (amount subject to adjustment on 4/01/25 and
                                                             every 3 years after that).
                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                             operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                             chooses to proceed under Subchapter V of Chapter 11.
                                                           ☐ A plan is being filed with this petition.

                                                           ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).
                                                           ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                             Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                           ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No      District
   filed by or against the debtor     ☐ Yes.                                       When     MM/DD/YYYY     Case number
   within the last 8 years?
                                                District                           When                    Case number
     If more than 2 cases, attach a                                                         MM/DD/YYYY
     separate list.




     Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor           HONX, Inc.                                                         Case number (if known)
          Name



10. Are any bankruptcy cases            ☒ No
    pending or being filed by a         ☐ Yes.       Debtor                                                        Relationship
    business partner or an
    affiliate of the debtor?                         District
   List all cases. If more than 1,                                                                                 When
   attach a separate list.                         Case number, if known ___________                                                MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                   ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                      Number          Street



                                                                                      City                                  State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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                 Matthew D. Cavenaugh
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                       )
    In re:                                             )      Chapter 11
                                                       )
    HONX, Inc.,                                        )      Case No. 22-___________(___)
                                                       )
                            Debtor.                    )
                                                       )

                                  LIST OF EQUITY SECURITY HOLDERS2

                                                                                              Percentage of
             Debtor               Equity Holders             Address of Equity Holder
                                                                                               Equity Held
                                                           1501 McKinney St., Houston, TX
    HONX, Inc.                   Hess Corporation                                                 100%
                                                                      77010




2      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 HONX, Inc.,                                          )    Case No. 22-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Hess Corporation                                                            100%
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          Fill in this information to identify the case:

          Debtor name    HONX, Inc.
          United States Bankruptcy Court for the: Southern                 District of Texas

          Case number (If known):
                                                                                    (State)
                                                                                                                                                 Check if this is an
                                                                                                                                                    amended filing




        Chapter 11 Cases: List of Law Firms Representing the Asbestos Plaintiffs                                                                                 12/15

        The following is a list of parties that represent or have represented the known parties that have alleged claims against HONX, Inc. (the “Debtor”)
        related to asbestos and exposure to toxic substances (the “Top Asbestos Counsel List”). Substantially contemporaneously with this petition,
        the Debtor has filed a motion seeking authority to file this Top Asbestos Counsel List in lieu of a list of the 20 largest unsecured creditors.1 This
        list does not include any person or entity who is an “insider” under section 101(31) of title 11 of the United States Code. The Top Asbestos
        Counsel List was prepared for with information existing as of the date hereof. The Debtor reserves the right to amend the Top Asbestos Counsel
        List based on additional information it may identify. The information contained in the Top Asbestos Counsel List shall not constitute an
        admission by, nor shall it be binding on, the Debtor.


         Name of creditor and complete             Name, telephone number, and    Nature of the     Indicate if claim   Amount of unsecured claim
         mailing address, including zip code       email address of creditor      claim (for        is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                   contact                        example, trade    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                  debts, bank       disputed            total claim amount and deduction for value of
                                                                                  loans,                                collateral or setoff to calculate unsecured claim.
                                                                                  professional
                                                                                  services, and
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

    1                                            Attn Warren Burns
         Burns Charest LLP                                                                          Contingent/
                                                 P: 469-904-4551
         900 Jackson Street Suite 500                                             Litigation        Unliquidated/       N/A               N/A                 Undetermined
                                                 F: 469-444-5002
         Dallas, TX 75202                                                                           Disputed
                                                 wburns@burnscharest.com

    2    Lee J. Rohn and Associates, LLC         Attn Lee J. Rohn, Esq.
                                                                                                    Contingent/
         1101 King Street                        P: 340-778-8855
                                                                                  Litigation        Unliquidated/       N/A               N/A                 Undetermined
         Christiansted- St Croix, 00820-0000     F: 340-773-2954
                                                                                                    Disputed
         USVI                                    lee@rohnlaw.com

    3    Thomas Alkon P.C.
                                             P: 340-277-5865                                        Contingent/
         P.O. Box 223032
                                             F: 340-773-4491                      Litigation        Unliquidated/       N/A               N/A                 Undetermined
         Christiansted- St Croix, 00822-0000
                                             attorney.alkonlaw@gmail.com                            Disputed
         USVI

    4                                            Attn Sara Salger, Erin Beavers
         The Gori Law Firm, P.C.                 P: 618-659-9833                                    Contingent/
         156 N. Main St.                         F: 618-659-9834                  Litigation        Unliquidated/       N/A               N/A                 Undetermined
         Edwardsville, IL 62025                  Sara@gorijulianlaw.com;                            Disputed
                                                 erin@gorjiulianlaw.com

    5    Law Office of Ryan W. Greene
                                                                                                    Contingent/
         15-B Norre Gade
                                                 P: 340-715-5297                  Litigation        Unliquidated/       N/A               N/A                 Undetermined
         St Thomas, 00804-0000
                                                 F: 888-519-7138                                    Disputed
         USVI

    6    Waters & Kraus, LLP                                                                        Contingent/
                                                 P: 214-357-6244
         3141 Hood Street, Suite 700                                              Litigation        Unliquidated/       N/A               N/A                 Undetermined
                                                 F: 214-357-7252
         Dallas, TX 75219                                                                           Disputed


    7    Maune Raichle Hartley French &          Attn Dawn Besserman, Esq.
                                                                                                    Contingent/
         Mudd, LLC                               P: 314-241-2003
                                                                                  Litigation        Unliquidated/       N/A               N/A                 Undetermined
         1015 Locust Street, Suite 1200          F: 314-241-4838
                                                                                                    Disputed
         St. Louis, MO 63101                     dbesserman@mrhfmlaw.com



1
             This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors other than insiders, who
             have the 20 largest unsecured claims against a debtor.
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Debtor Name: HONX, Inc.                                                               Case Number (if known):____________________

 8                                        Attn Daniel Wasserberg, Esq.
      Meirowitz & Wasserberg, LLP                                                          Contingent/
                                          P: 212-897-1988
      233 Broadway, Suit 2070                                            Litigation        Unliquidated/   N/A         N/A          Undetermined
                                          F:
      New York, NY 10279                                                                   Disputed
                                          dw@mwinjurylaw.com

 9                                        Attn Brian Early Esq.
      The Early Law Firm, LLC                                                              Contingent/
                                          P: 212-986-2233
      360 Lexington Avenue, 20th Floor                                   Litigation        Unliquidated/   N/A         N/A          Undetermined
                                          F: 212-986-2255
      New York, NY 10017                                                                   Disputed
                                          bearly@elslaw.com

 10 Harris & Huge, LLC                                                                     Contingent/
                                          P: 843-805-8031
    180 Spring Street                                                    Litigation        Unliquidated/   N/A         N/A          Undetermined
                                          F: 843-636-5229
    Charleston,, SC 29403                                                                  Disputed


 11                                       Attn Stephen Murray Sr &
                                          Stephen Murray Jr & Devin
      Murray Law Firm                     Lowell                                           Contingent/
      701 Poydras Street, Suite 4250      P: 504-525-8100                Litigation        Unliquidated/   N/A         N/A          Undetermined
      New Orleans, LA 70139               F: 504-584-5249                                  Disputed
                                          smurray@murray-lawfirm.com;
                                          smurrayjr@murray-lawfirm.com

 12 The Pate Law Firm                     Attn J. Russell B Pate
                                                                                           Contingent/
    P.O. Box 370                          P: 340-777-7283
                                                                         Litigation        Unliquidated/   N/A         N/A          Undetermined
    Christiansted- St Croix, 00821-0000   F: 888-889-1132
                                                                                           Disputed
    USVI                                  sunlawvi@gmail.com

 13




 14




 15




 16




 17




 18




 19




 20




                                                                                                                                      page 2
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             WRITTEN CONSENT BY THE INDEPENDENT DIRECTORS OF
                                HONX, INC.

                                           April 27, 2022

        The undersigned, being independent directors (the “Independent Directors”) of the board
of directors (the “Board”) of HONX, Inc., a New York corporation (the “Company”), having
considered the filing of voluntary petitions for relief under the provisions of title 11 of the United
States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”) and exploring strategic and/or
financial alternatives in light of the Company’s current litigation liabilities and general financial
condition, including possibilities of undertaking a restructuring, reorganization, or other transaction
and related financing (each of the foregoing and any combination of the foregoing,
a “Restructuring Transaction”), have reviewed and considered certain materials presented by the
management of the Company and the Company’s financial and legal advisors, including, but not
limited to, materials regarding the liabilities and obligations of the Company, its liquidity, the
strategic alternatives available to it, and the effect of the foregoing on the Company, and have had
adequate opportunity to consult such persons regarding the materials presented, obtain additional
information, and fully consider each of the strategic alternatives available to the Company;

Approval of the Funding Agreement

         WHEREAS, the Independent Directors, pursuant to actions by written consent of the
Board, dated as of April 18, 2022 (the “Delegating Resolutions”), were explicitly delegated certain
rights, authority, and powers in connection with any matters pertaining to a Restructuring
Transaction in which a conflict exists between the Company, on the one hand, and its shareholders,
affiliates, or one or more of the non-independent Directors of the Independent Directors and the
Company’s officers, on the other hand (the “Conflict Matters”); and

       WHEREAS the Delegating Resolutions contemplate that authority is delegated to the
Independent Directors in connection with any of the Conflict Matters, and the Independent
Directors have concluded that the decisions to authorize entry into the Funding Agreement (as
defined below) constitute Conflict Matters.

        NOW, THEREFORE, IT IS RESOLVED, that each of the Authorized Persons is hereby
authorized, empowered, and directed to execute (under the common seal of the Company, if
appropriate) steps necessary and proper to effectuate entry into that certain funding agreement dated
April 27, 2022 (as amended, restated, modified or supplemented from time to time, the “Funding
Agreement”), by and among the Company and Hess Corporation, a Delaware corporation; and

        FURTHER RESOLVED, that for the avoidance of doubt, the Independent Directors, in
consultation with their advisors, have determined that: (a) the execution of the Funding Agreement
constitutes a Conflict Matter; and (b) entry into the Funding Agreement is in the best interests of
the Company, its creditors, and other parties in interest; and therefore, the Independent Directors
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hereby authorize entry into the Funding Agreement.

Authorizing the Filing of Bankruptcy Petitions and Retention of Professionals

       WHEREAS, the Independent Directors has reviewed and considered the following:

       1.      the presentations by the Company’s management and the legal and financial advisors
               of the Company regarding the liabilities and liquidity of the Company, the strategic
               alternatives available to them, and the impact of the foregoing on the Company’s
               business;

       2.      the Funding Agreement;

       3.      the information and advice previously provided to and reviewed by the Independent
               Directors; and

       4.      the related matters reported on at meetings of the Independent Directors on and
               before the date hereof; and

       WHEREAS, the Independent Directors has had the opportunity to consult with the
Company’s management and the legal and financial advisors of the Company and to fully consider
each of the strategic alternatives available to the Company;

       WHEREAS the Delegating Resolutions contemplate that authority is delegated to the
Independent Directors in connection with any of the Conflict Matters, and the Independent
Directors have concluded that the decisions to authorize entry into the Funding Agreement (as
defined below) constitute Conflict Matters; and

         WHEREAS, the Independent Directors has determined, in its business judgment, that it is
desirable and in the best interests of the Company and its respective stakeholders for the Company
to file, or causing the filing of, a voluntary petition under chapter 11 of the Bankruptcy Code and
that such action will benefit the Company.

       NOW, THEREFORE, IT IS RESOLVED, that the Company is authorized to file a
voluntary petition for relief under the Bankruptcy Code and seeking necessary relief;

        FURTHER RESOLVED, that, in the judgment of the Independent Directors, it is desirable
and in the best interests of the Company, its interest holders, its creditors, and other parties in
interest, that the Company file or cause to be filed a voluntary petition for relief (the “Bankruptcy
Petition”) under the provisions of the Bankruptcy Code in the United States Bankruptcy Court for
the Southern District of Texas or such other court of competent jurisdiction (the “Court”). In
accordance with the requirements of the Company’s governing documents and applicable law, the
Directors hereby consent to, authorize, and approve the filing of the Bankruptcy Petition;
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        FURTHER RESOLVED, that any director, officer, or other duly appointed officer of the
Company (each an “Authorized Person” and collectively, the “Authorized Persons”) is hereby
authorized and appointed to act as signatory and attorney on behalf of the Company in respect of
any Restructuring Transaction, and/or any person to whom such Authorized Persons and/or officers
delegate certain responsibilities is hereby authorized to execute (under the common seal of the
Company, if appropriate) and file on behalf of the Company all petitions, schedules, lists, and other
motions, papers, or documents, and to take any and all actions they deem necessary or proper to
obtain such relief;

        FURTHER RESOLVED, that each of the Authorized Persons is hereby authorized,
empowered, and directed to employ: (i) the law firm of Kirkland & Ellis LLP as general bankruptcy
counsel; (ii) the law firm of Jackson Walker LLP as co-bankruptcy counsel; (iii) Piper Sandler
Companies/TRS Advisors LLC, as financial advisor; (iv) Stretto, Inc., as claims and noticing agent;
(v) Bates White LLC, as estimation professional; and (vi) any other legal counsel, accountant,
financial advisor, restructuring advisor, estimation professional, or other professional the
Authorized Persons deem necessary, appropriate, or advisable to retain; each to represent and assist
the Company in carrying out its duties and responsibilities and exercising its rights under the
Bankruptcy Code and any applicable law (including, but not limited to, the law firms filing any
pleadings or responses); and in connection therewith, the Authorized Persons are hereby authorized,
empowered, and directed, in accordance with the terms and conditions hereof, to execute (under the
common seal of the Company, if appropriate) appropriate retention agreements, pay appropriate
retainers, and to cause to be filed appropriate applications for authority to retain such services; and

         FURTHER RESOLVED, that each of the Authorized Persons is hereby authorized,
empowered, and directed to execute (under the common seal of the Company, if appropriate) and
file all petitions, schedules, motions, lists, applications, pleadings, and other papers, and to perform
such further actions and execute (under the common seal of the Company, if appropriate) such
further documentation that the Authorized Persons in their absolute discretion deem necessary,
appropriate, or desirable in accordance with these resolutions.

General

        NOW, THEREFORE, IT IS RESOLVED, that in addition to the specific authorizations
heretofore conferred upon the Authorized Persons, the Authorized Persons, either individually or
as otherwise required by the Company’s governing documents and applicable law, are hereby
authorized to execute (under the common seal of the Company, if appropriate), acknowledge,
deliver, and file any and all agreements, certificates, instruments, powers of attorney, letters, forms,
transfers, deeds, and other documents on behalf of the Company relating to the Restructuring
Transactions;

        FURTHER RESOLVED, that each of the Authorized Persons (and their designees and
delegates) is hereby authorized and empowered, in the name of and on behalf of the Company, to
take or cause to be taken any and all such other and further action, and to execute (under the common
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seal of the Company, if appropriate), acknowledge, deliver, and file any and all such agreements,
certificates, instruments, and other documents, and to pay all expenses, including but not limited to
filing fees, in each case as in such Authorized Person’s or Authorized Persons’ absolute discretion,
as shall be necessary, appropriate, or desirable in order to fully carry out the intent and accomplish
the purposes of the resolution adopted herein;

        FURTHER RESOLVED, that the Independent Directors have received sufficient notice
of the actions and transactions relating to the matters contemplated by the foregoing resolutions, as
may be required by the governing documents of the Company, or hereby waives any right to have
received such notice;

        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were taken
before the adoption of these resolutions, are hereby in all respects approved, confirmed, and ratified
as the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement, or certificate had been specifically authorized in advance by resolution of
the Directors; and

        FURTHER RESOLVED, that any Authorized Person is hereby authorized to perform all
other acts, deeds, and other actions as the Company itself may perform, in accordance with its
governing documents and applicable law, howsoever arising in connection with the matters above,
or in furtherance of the intentions expressed in the foregoing resolutions, including, but not limited
to, the negotiation, finalization, execution (under common seal, whether or not expressed to be a
deed, as may be necessary or appropriate), and delivery of any other agreements, certificates,
instruments, powers of attorney, letters, forms, transfers, deeds, and other documents whatsoever
as the individual acting may in their absolute and unfettered discretion approve or deem or
determine necessary, appropriate, or advisable, such approval, deeming, or determination to be
conclusively evidenced by said individual taking such action or the execution thereof.

                                              ****
                                      [Signature pages follow}
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